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EXHIBIT 1
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08/01/22 »* COVID> VIEWS

Dr. Robert Malone: ‘Gaslighted, Ridiculed,
Defamed’ — But Not Discredited

Like others who tried to share truth and opinions that differ from the official COVID-19
narrative, Dr. Robert Malone said he’s been viciously attacked by media, but wisdom and
knowledge are now being validated on a near-daily basis.

By Dr. Joseph Mercola
Miss a day, miss a lot. Subscribe to The Defender's Top News of the Day. It's free.

Story at a glance:

¢ Media and health authorities also ignore what Dr. Robert Malone and others have warned about
from the start, which is that vaccinating during a pandemic will drive the evolution of resistant
strains. This is precisely what we're now seeing with Omicron variants BA.4 and BA.5, which
circumvent both natural immunity and COVID jab-induced antibodies.

* The Centers for Disease Control and Prevention (CDC) and the U.S. Food and Drug Administration
(FDA) are also ignoring the reality of immune imprinting, which is causing COVID-jabbed individuals
to contract COVID more frequently, and repeatedly.

° Media are again trying to drum up fear over new COVID strains, despite data clearly showing
hospitalization rates remain steady even though the infection rate is rising.

e When RNAs include pseudouridine — as all mRNA COVID shots do — they will last longer and be
less inflammatory. However, we've now discovered that pseudouridine-containing RNA also causes
immunosuppression, which we're seeing in many who have received the jabs.

¢ Malone's book, “The Lies My Government Told Me,” is now available.

By now, many of you will be familiar with Dr. Robert Malone, inventor of the core mRNA and DNA
vaccine platform technology that the various COVID shots are based upon. (To be clear, he’s not the
inventor of the COVID shots themselves but rather the foundational platform that underlies them, for
which Malone holds several patents.)

Malone rose to prominence after his appearance on the DarkHorse podcast in June 2021, where he,
Steve Kirsch and DarkHorse host Bret Weinstein, Ph.D., spent three hours dissecting the COVID fraud.

Interestingly, Malone and Kirsch were both double-jabbed before realizing there were problems with
the shots, but once they did, they boldly stepped into the limelight to warn and inform others.

Malone also appeared on the Joe Rogan podcast Dec. 30, 2021, which ended up being the most-
viewed podcast of all time with some 50 million views.

The transcript of that interview was even entered into the Congressional Record on Jan. 3 by
Congressman Troy Nehls, R-Texas, after Twitter and YouTube removed it from their platforms.

Malone also helped promote the work of Dr. Matthias Desmet, a clinical psychologist at the University
of Gantt in Belgium and author of “The Psychology of Totalitarianism.”

Desmet was the first to introduce the concept of “mass formation” to explain how and why people
were going along with a narrative that was clearly false and evidently destructive.
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“The Psychology of Totalitarianism.”

Desmet was the first to introduce the concept of “mass formation” to explain how and why people were going along with a narrative that was
clearly false and evidently destructive.

Like so many others who have tried to share truth and opinions that differ from the official COVID narrative, myself included, Malone has
been viciously attacked by media and relentlessly “fact-checked.” Alas, with the passage of time, his wisdom and knowledge are now being
validated on a near-daily basis.

“T would say we’ve been gaslighted, ridiculed, defamed — but I don’t think we’ve been discredited,” he says. “I think we could both hold
our heads up high. We’ve called it amazingly well.”

Malone continues:

“I’m just in the middle of reviewing and building the chapters for the book that has to do with what’s gone wrong with the HHS
[Health and Human Services] and what we need to fix, which includes a litany of things that have been miscalled by the CDC,
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“The list is enormous. And we continue to see on a daily basis the weaponization of fear porn, the two most recent examples being
the monkcypox and the Omicron BA.4 [and BA].5.”

Immune imprinting is making the vaxxed sicker

As noted by Malone, media are again trying to drum up fear porn, despite data clearly showing hospitalization rates remain steady even
though the infection rate is rising.

They’re also ignoring what Malone and others warned about from the start, which is that vaccinating during a pandemic is a beyond foolish
strategy as it is virtually guaranteed to drive the evolution of resistant strains.

This is precisely what we’re now seeing with BA.4 and BA.5, which circumvent both natural immunity and COVID jab-induced antibodies.
The CDC and the FDA are also ignoring the reality of immune imprinting, which Malone says is backed by more than 10 high-end, highly
visible peer-reviewed journals.

“We're literally driving the highly vaccinated to an immune-compromised state in which they’re more susceptible to infection by Omicron
— as a consequence of their prior vaccination — and they are becoming chronically or multiply infected,” Malone says.

He adds:

“This is precisely the situation that’s been shown in peer-reviewed literature to be driving the development of the further
development of the escape mutants. So, our public policies are completely contrary to the need here.

“I’m speechless concerning the mismatch between what our government promotes and what the true public health need is.”
Is Malone controlled opposition?
In scanning through the comments on my newsletter, I’ve noticed that some people are convinced Malone is controlled opposition.

Considering that he’s the developer of the mRNA technology that underlies the jabs, and the fact that he’s been double-jabbed himself and
has worked extensively with the Deep State intelligence community, Malone believes his current actions speak for themselves.

He says:

“T have historically worked with people who have been truly Deep State intelligence community. I have decades of experience in
biodefense. I have been deep in the belly of the beast.

“T have won literally billions of dollars for my clients in grants and contracts. I have managed hundreds of millions of dollars in
grants and contracts in the vaccine space. ...

“As study section chair or key study section member on many hundred-plus million-dollar contract reviews for typically
the NILI [National Institutes of Health] ... but also DOD [Department of Defense]. I have historically been deeply embedded in this
whole enterprise. I know it upside down.

“T understand this system. So, I think the concerns that I could be controlled opposition are valid. I think that it’s appropriate to
acknowledge the basis for those concerns. Now, [those] concerns, I think, are refuted by my behaviors and actions.

“Let’s start with the inventions. I have many patents. I’ve contributed to the development of many technologies. My wife and I
helped found Inovia, the ... post electrical field gene delivery company that is promoting its own vaccine technology, which is a
DNA-based platform and could well be adapted to RNA-based vaccines.

“I certainly have those nine initial issued patents and others that relate to virtually any delivery system used to administer
polynucleotides to the nasal pharynx, to mucosal tissues, to elicit a mucosal immune response ...

“T have many patents on various [nano] lipids, these positively charged fats that are used to deliver the polynucleotides, but I’m also
an objective scientist.

“As a consequence of the decades of experience in basic discovery research in this area, we’ve turned away from this technology
because we could never overcome the inflammatory problems, this acute immune response and the recruitment of inflammatory cells
into the injected tissues,

“We ran into this again and again and again, both in mice and then in monkeys, and could never overcome it. We abandoned the
technology.”
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Malone explains the patent controversy

Malone goes on to explain the origin of the patent controversy — why some claim he didn’t actually invent the mRNA platform the COVID
Jabs are using, and why the technology was used at all if it had already been abandoned due to excessive hazards.

He says:

“Kati Karik6 called me up in the mid-90s and wanted some advice. I told her about the problems with the RNA and the problems
with the inflammatory response and, together with Drew Weissman, she applied the pseudouridine discoveries that were just
emerging and put pseudouridine all the way through the RNA, which is both immunosuppressive and increases the half-life of the
RNA.

“So, these RNAs that are now being used are really nothing like the natural RNA. They’re synthetic product. This is the basis for
their assertion, that they’re the true inventors and I am not — despite all the prior art and multiple patents — is that they made this
improvement on the art that was enabling.

“[However], the CureVac technology demonstrates that’s not enabling, that, in fact, you can get good immune responses with mRNA
that does not include pseudouridine. But I had turned away from the tech. There were better ways to provide an immune response, I
believed. Those are still investigational.

“Talking about eyes wide open, I have intimate understanding of the good, the bad and the ugly of this approach and this technology.
That’s always been my position — that of an objective scientist. Then, on the last point on this, I never received substantial revenue
of any kind from my inventions.

“The patents were filed from a company that’s now called Vical that had partnered with Merck years ago. Over a billion dollars were
spent to advance the technology. Merck and Vical only focused on the DNA and they failed.

“But as a consequence of the terms of my employment, I received — in addition to my technician salary, which was about $20,000 a
year — $1 for all those patents. I’ve had no patent royalty. So, I have no financial conflict of interest here.

“It doesn’t matter to me one way or the other. What matters is integrity and honesty and truthfulness. ... Let me put it this way... I
was in a dark room, I backed into the light switch, and what I saw was such that I could never unsee it.”

On Malone’s CIA connections

Malone was also, once upon a time, in business with a former CIA agent named Michael Callahan, who held a senior position in the Defense
Threat Reduction Agency (DTRA).

Callahan was in Wuhan, China, in the fourth quarter of 2019 and called Malone in early January 2020, asking him to get a team together to
address a novel virus that had broken out in China.

According to Malone:

“I had a series of interactions with him subsequently until I became completely disillusioned and aware that he was lying to me
almost constantly, including about things like whether or not the pathogen was engineered. So, I think I can certainly empathize, and
understand why some might have these concerns. ...

“[But] I don’t ask people to accept what I say, I ask people to think for themselves. I’ve tried to be truthful, honest, act with integrity,
provide access to information, try to help people to think through things by themselves, and I’ve made a number of predictions and
comments and analyses and, like you, I stand by what I’ve said.

“So even if [ was controlled opposition, that’s kind of irrelevant. The question is not who I am; the question is what is the
information? Is it useful to you? Is it helping you to manage your own affairs, make conformed choices about vaccinating your
children?

“If so, I think that even if I was controlled opposition, I suspect that I’m fairly useful controlled opposition for those of us that are in
this boat together of seeking truth.

“Frankly, all of my contacts with the government now are destroyed. The colleagues that | used to communicate with regularly at the
FDA will no longer take my call ... I’ve dropped my contract with Defense Threat Reduction Agency.

“Largely I just became disillusioned with them, particularly after I found out that another branch of DTRA is continuing to support
the Wuhan Institute of Virology and disclose that.

“T shared a number of fragments of information about what I know that’s been going on within DTRA, as well as
within NIAID [National Institutes of Allergy and Infectious Diseases] and the NIH.
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“In doing so, I compromised that part of my career. I’ve thrown away, for the second time by the way, a big career path that I’ve
developed over decades.”

Malone’s COVID jab experience

Malone also discusses his reasoning for taking the COVID shots. He needed to travel and thought the shot might be helpful for his “long
COVID,” which he developed after contracting the infection early on in the pandemic.

Unfortunately, like so many others, he suffered a series of complications, particularly after the second dose, including cardiac damage
resulting in hypertension with a frequent systolic pressure of up to 230, narcolepsy, central nervous brain fog, restless leg and several other
symptoms now known to be associated with the shot.

When he later looked up his batch number on HowBadIsMyBatch.com, he discovered his second dose was from a batch associated with a
high rate of complications. “So that’s that. We all make mistakes. I acknowledge now [that taking the vaccine] was absolutely not the proper
way to approach this,” he says.

Dr. Meryl Nass, who has since lost her medical license for the crime of talking about COVID treatments, was instrumental in actually curing
Malone’s long COVID. She prescribed ivermectin, which gave him near-immediate relief. “So, tip of the hat to Meryl Nass, a true truth
warrior and another inspirational figure in all of this,” Malone says.

Pseudouridine-enhanced RNA can cause immunosuppression

In the interview, Malone delves into some of the mRNA jab quality control problems that have arisen, and whether or not the addition of
pseudouridine actually reduces the inflammatory reaction associated with mRNA gene therapy as claimed.

As explained earlier, Kariko — a former Hungarian spy — had sought Malone’s help, and he told her about the problems with the RNA he
was finding.

Kariké and Weissman — a post-doc of Dr. Anthony Fauci — then went on to experiment with the addition of pseudouridine, which we now
know influences things like RNA stability, folding, processing and splicing. It’s highly regulated, but that wasn’t known at the time.

What was known was that if RNAs include pseudouridine, they will last much longer and be far less inflammatory. Basically, immune
responses against cells that have pseudouridine-modified mRNA in them are suppressed.

Based on that, Kariké and Weissman incorporated pseudouridine throughout the entire mRNA molecule, which was synthesized using the
methods Malone developed, and then purified.

When this product was injected, they got a better adaptive immune response and less inflammatory response. This is the science that the
COVID shots are based on.

However, recent investigations, using needle biopsies, have shown RNA persists in axillar lymph nodes for at least 60 days. They didn’t test
any longer than that, so it could be far longer. The levels of spike protein produced were also found to be far higher than expected and lasted
for at least 60 days.

“So, what we now know is that pseudouridine can cause RNA to behave in ways that are absolutely not like natural RNA, as I had originally
proposed,” Malone says.

He continues:

“The RNA is typically degraded within a couple of hours, so if people were to have adverse events, the inciting molecule would be
gone and physicians could elect not to readminister it.

“But in the current formulation with the pseudouridine incorporated throughout the entire backbone of the RNA, which is something
that never happens in a natural situation, they do suppress the acute inflammatory response, but they also seem to suppress overall
adaptive immune responses or immune function.

“This may be something that’s contributing to the immunosuppression that’s observed after dosing with these products. That’s
unresolved, but there’s no question that adverse event exists, that nonspecific immunosuppression.

“So, we have now ... lots of evidence that the discovery of Kariké and Weissman had negative aspects to it, which were not well
characterized by Pfizer, Moderna, BioNTech, et cetera.”

Malone also reviews other ingredients and quality control issues that can contribute to a “hot,” or more lethal batch, so to learn more, be sure
to listen to the interview in its entirety.

For example, he reviews the problem of aggregation, the toxicity of PEG and how fatigue may be related to the fact that spike protein is not
merely attached to cell surfaces but actually poisons the mitochondria.
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He also admits there may be some truth to claims that graphene oxide is being used, although he still hasn’t seen any conclusive proof.

Malone says:

“Tnitially, I thought that was crazy talk, but the unwillingness of the pharmaceutical companies to disclose their ingredients, which is
just mind-boggling ...

“That’s completely contrary to anything I’ve ever encountered in any teaching I’ve ever had about regulated products. There’s
something amiss here. There’s no question.”

Upcoming fall trivalent jab will likely be more dangerous

The FDA recently approved a new trivalent COVID jab for fall 2022, which won’t be going through any additional testing, even though it
will be a brand-new composition to cover some of the newer strains. I fear this will radically increase side effects, as does Malone.

He says:
“The trivalent story ... goes back to the logic of influenza vaccines. ...

“Reasoning by analogy, apparently, the FDA and the CDC have now concurred that a similar strategy shall be taken for these
unlicensed experimental use authorized products that have produced an adverse event signal like no vaccine in history — which they
deny — and are clearly not stopping infection replication and spread of the viruses.

“What they’ve decided is they’re going to now use the flu model, which will enable them to continue the manufacturing process,
which, as we’ve just discussed, is poorly characterized, not really adequately provided with oversight, and [has poor] lot consistency.

“We know from the ‘How Bad Is My Batch’ analysis, the lot consistency is horrid. But that’s all apparently OK. And, one antigen is
good so let’s go to three. The problem is multifaceted.

“Typically, when you do this, you maintain approximately the same dose of each antigen, so that would be, in the case of Pfizer,
we’re going to go from 50 to 150 micrograms of RNA in a jab.

“Let’s hope they don’t do that. But even if they only double the dose, then we know that the adverse events are going to go up
considerably.”

‘Mass psychosis at its worst’
Malone also questions the underlying thesis and science of this endeavor.

The idea is that by continuing to administer the Wuhan-1 spike and adding BA.4 and BA.5, which evolved to evade antibodies to the Wuhan-
I strain, they’re ignoring the peer-reviewed literature, which is extensive, showing that immune imprinting (aka “antigenic sin”) is occurring.

In fact, immune imprinting is part of why flu shots have such poor efficacy. In a nutshell, if you had COVID, or got the jab, your immune
system is biased toward the original Wuhan strain, to the exclusion of others.

Omicron and later variants have evolved to exploit that bias, which is why jabbed individuals are now getting sick with COVID more often
than the unjabbed, and suffer repeated reinfections.

According to Malone:

“We have created a situation in which they have to keep getting vaccinated, I guess. That’s the logic being promoted by the CDC. We
have to keep vaccinating them at frequent intervals because the vaccination is damaging their ability to control infection of these
escape [strains].

“And now the CDC and the FDA have signed off on the idea of a trivalent vaccine that I couldn’t have imagined a better design if I
wanted to, to drive this immune imprinting phenomenon and make people less able to resist Omicron infection because it includes
Wuhan-1 plus two Omicron strains.

“It is exactly the opposite of what’s needed. It is Geert Vanden Bossche’s worst nightmare, and they are doing it blindly without even
bothering to read the peer-reviewed literature that describes this. This is insanity. It is mass psychosis at its worst.

“There is a lot of very deep, complex immunology associated with what we’ve been doing to people all over the world, and it
involves every single facet of this product, the lipids themselves, the formulations, the structure of the RNA and the payload that’s
being expressed.”

He adds:
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“Each of them are associated with their own profile of adverse events. That is clearly seen in the early Moderna data ... in the Phase
1 data of their influenza vaccine product using the same tech, at the 100-mcg dose, 80% of the subjects had Grade 2 or Grade 3
adverse events.

“That’s the formulations and the same RNA chemistry but no spike protein. That shows it’s not just the spike [that causes adverse
events].

“This has got to go down in history as one of the most profound failures of regulatory science in the 20th and 21st century, and the
craven cowardice of the FDA regulatory authority to address this has, I think, all over the world, led to a recognition that the FDA
has been captured by the pharmaceutical industry.

“It is profoundly corrupt and has to be completely rebuilt. The damage that’s been done to the reputation of the American regulatory
process, globally, is profound.

“As I had suggested, almost two years ago, if they continue on this path they are going to destroy the entire regulatory process, as
well as any faith that anyone ever had in the vaccine enterprise. And here we are. ...

“If there’s a silver lining here, I think it’s that, for many of us, including myself, who had bought into the system, the experience is so
powerful that it is opening eyes everywhere.

“I’m now completely in the same camp as Bobby Kennedy, in that I believe the entire vaccine enterprise needs to be revisited, and
it’s unequivocal.

“We do not have the data to support the safety and efficacy of the current pediatric vaccine schedule, and all of the components of the
pediatric vaccine schedule need to be reassessed for risk-benefit ratio. Both as individual products and as combined products.”

More information
Malone has now released his first book, “Lies My Government Told Me.”

If you want to know what he knows, or fret about how we will ever rectify the wrongs uncovered, you’ ll want to read this book. You can also
follow Malone’s work on GETTR, maloneinstitute.org, rwmalonemd.com and Substack.

I firmly believe his GETTR account is the must-follow site if you want to keep current on the pandemic nonsense. I read it nearly every day
and nearly always find new and important updates there first.

“It’s hard to see a way forward that is not rather bleak in the world that’s being envisioned by these unelected corporatist powers, these
public-private partnerships, that seek to control our lives in every facet and aspect,” Malone says.

He adds:

“But having focused on this now for many months, in part out of necessity because I had to finish the book, I’m starting to see a path
forward, and recent Supreme Court decisions ... are giving me hope.

“T think that partnership between attorneys ... organizations that are more constitutionalist in their framing and background, together
with people that are knowledgeable about the inner workings of the administrative state and HHS, offers opportunity. ...

“Also, [ think it’s reasonable that all of us need to start thinking about intentional communities, about how we can build local
sustainable community capabilities ... Those of us that are awake need to really think hard about preparing ourselves, not
overreacting, but ... being a prepper. ...

“There are forces at play here that this whole public health thing is just a facade, a ruse. I’m completely convinced the reason why so
many of these policies make no sense from a public health standpoint is they’re not about public health. ...

“The evidence that a lot of this is being manipulated, hence the fear porn, is overwhelming in my opinion, and I cannot reconcile the
abundant examples of public health mismanagement and misalignment between the need and the policies unless I account for the
underlying financial agendas, geopolitical power agendas that are in play right now.

“And I think that those of us who are still committed to integrity and dignity and community need to circle the wagons and think
through how to prepare for a future in which all of these agendas are coming to fruition.

“They’re coming to a head and we better be ready for them.”
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The views and opinions expressed in this article are those of the authors and do not necessarily reflect the views of Children's Health
Defense.
